Case 3:11-cv-03262-EMC-MMS-RS Document 21 Filed 10/19/11 Page 1 of 20
Case 3:11-cv-03262-EMC-MMS-RS Document 21 Filed 10/19/11 Page 2 of 20
Case 3:11-cv-03262-EMC-MMS-RS Document 21 Filed 10/19/11 Page 3 of 20
Case 3:11-cv-03262-EMC-MMS-RS Document 21 Filed 10/19/11 Page 4 of 20
Case 3:11-cv-03262-EMC-MMS-RS Document 21 Filed 10/19/11 Page 5 of 20
Case 3:11-cv-03262-EMC-MMS-RS Document 21 Filed 10/19/11 Page 6 of 20
Case 3:11-cv-03262-EMC-MMS-RS Document 21 Filed 10/19/11 Page 7 of 20
Case 3:11-cv-03262-EMC-MMS-RS Document 21 Filed 10/19/11 Page 8 of 20
Case 3:11-cv-03262-EMC-MMS-RS Document 21 Filed 10/19/11 Page 9 of 20
Case 3:11-cv-03262-EMC-MMS-RS Document 21 Filed 10/19/11 Page 10 of 20
Case 3:11-cv-03262-EMC-MMS-RS Document 21 Filed 10/19/11 Page 11 of 20
Case 3:11-cv-03262-EMC-MMS-RS Document 21 Filed 10/19/11 Page 12 of 20
Case 3:11-cv-03262-EMC-MMS-RS Document 21 Filed 10/19/11 Page 13 of 20
Case 3:11-cv-03262-EMC-MMS-RS Document 21 Filed 10/19/11 Page 14 of 20
Case 3:11-cv-03262-EMC-MMS-RS Document 21 Filed 10/19/11 Page 15 of 20
Case 3:11-cv-03262-EMC-MMS-RS Document 21 Filed 10/19/11 Page 16 of 20
Case 3:11-cv-03262-EMC-MMS-RS Document 21 Filed 10/19/11 Page 17 of 20
Case 3:11-cv-03262-EMC-MMS-RS Document 21 Filed 10/19/11 Page 18 of 20
Case 3:11-cv-03262-EMC-MMS-RS Document 21 Filed 10/19/11 Page 19 of 20
Case 3:11-cv-03262-EMC-MMS-RS Document 21 Filed 10/19/11 Page 20 of 20




                      19th     October
